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 1   Robert E. Thackston (CA SBN 255658)
     rthackston@hptylaw.com
 2   Edward R. Ulloa (CA SBN 177909)
     eulloa@hptylaw.com
 3   Julia A. Gowin (CA SBN 234995)
     jgowin@hptylaw.com
 4   J. Kyle Gaines (CA SBN 287536)
     kgaines@hptylaw.com
 5   HAWKINS PARNELL THACKSTON & YOUNG LLP
     445 South Figueroa Street, Suite 3200
 6   Los Angeles, CA 90071
     Telephone: (213) 486-8000
 7   Facsimile: (213) 486-8080
     Email:     jgowin@hptylaw.com
 8               kgaines@hptylaw.com
 9   Attorneys for Defendant,
     JOHN CRANE INC.
10
                          UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12

13   FARID MALEK, an individual; MARY )      Case No. 2:15-cv-04454-SJO-JEM
     MALEK, an individual,            )
14                                    )      Assigned for all purposes to the Honorable
                      Plaintiffs,     )      S. James Otero in Courtroom 1
15       vs.                          )
                                      )      DEFENDANT JOHN CRANE INC.’S
16   BLACKMER PUMP COMPANY, et al. )         NOTICE OF MOTION AND MOTION TO
                                      )      DISMISS FOR LACK OF PERSONAL
17                    Defendants.     )      JURISDICTION PURSUANT TO RULE
                                      )      12(B)(2) OF THE FEDERAL RULES OF
18                                    )      CIVIL PROCEDURE; MEMORANDUM OF
                                      )      POINTS AND AUTHORITIES
19                                    )
                                      )      [Filed concurrently with Declaration of J. Kyle
20                                    )      Gaines; Declaration of George Springs; and
                                      )      Proposed Order]
21                                    )
                                      )      Date: July 20, 2015
22                                    )      Time: 10:00 a.m.
                                      )      Courtroom: 1
23                                    )      Judge: Hon. S. James Otero
                                      )
24                                    )      FAC Filed:             May 20, 2015
                                      )      Trial Date:            Not Set
25                                    )
26         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
27   RECORD:
28


       JCI’S NOTICE OF MOTION AND MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
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 1         PLEASE TAKE NOTICE that, on July 20, 2015 at 10:00 a.m., or as soon
 2   thereafter as the matter may be heard in Courtroom 1 before the Honorable S. James
 3   Otero of the above-referenced Court, located at 312 North Spring Street, Los Angeles,
 4   CA 90012, Defendant John Crane Inc. (“JCI”) will and hereby does move to dismiss the
 5   action against JCI for lack of personal jurisdiction under Federal Rules of Civil Procedure
 6   Rule 12(b)(2).
 7         Pursuant to Rule 12(b)(2), Plaintiffs’ claims for personal injury and loss of
 8   consortium should be dismissed because the Court lacks general and specific personal
 9   jurisdiction over JCI. In particular, the Court lacks specific personal jurisdiction over JCI
10   because the conduct alleged against JCI occurred in Iran, not California. The Court lacks
11   general personal jurisdiction over JCI because JCI is a Delaware corporation with its
12   principal place of business in Illinois. Accordingly, JCI is not “essentially at home” in
13   California. See Daimler AG v. Bauman, 134 S.Ct. 746, 760 (2014); Goodyear Dunlop Tires
14   Operations, S.A. v. Brown, 131 S.Ct. 2846 (2011).
15         JCI’s motion is made following the conference with Plaintiffs’ counsel pursuant to
16   Local Rule 7-3, which took place on Wednesday, June 17, 2015. (See ¶ 5 of the Gaines
17   Declaration.) It is based upon this Notice of Motion and Motion, the attached
18   Memorandum of Points and Authorities and Declaration of J. Kyle Gaines, the
19   concurrently filed Declaration of George Springs, all papers and pleadings in the Court’s
20   file, any matter of which the Court may take judicial notice, and upon such oral argument
21   as may be presented at the time of hearing.
22

23   DATED: June 18, 2015                     HAWKINS PARNELL THACKSTON & YOUNG LLP
24

25                                                     By:
                                                             Robert E. Thackston
26                                                           Edward R. Ulloa
                                                             Julia A. Gowin
27                                                           J. Kyle Gaines
                                                             Attorneys for Defendant,
28                                                           JOHN CRANE INC.
                                                   2
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION AND PROCEDURAL HISTORY
 3           Plaintiffs’ initial Complaint for personal injury and loss of consortium was filed on
 4   May 7, 2015, in the Los Angeles Superior Court. (See Exh. A, at pp. 3 to Gaines Decl.)
 5   On May 20, 2015, Plaintiffs filed a First Amended Complaint in the Los Angeles Superior
 6   Court. (See Exh. C, at pp. 18 to Gaines Decl.) JCI subsequently filed a Motion to Quash
 7   Service of Summons based on lack of personal jurisdiction on June 10, 2015. On June
 8   12, 2015, before JCI’s Motion to Quash could be heard, Defendants Chevron U.S.A. Inc.
 9   and Texaco Inc. served a Notice of Removal.
10           This Court should dismiss JCI for lack of personal jurisdiction. First, JCI is not
11   subject to general personal jurisdiction in California. JCI is a Delaware corporation. (See
12   Springs Decl., ¶ 5.) Its principal place of business is in Illinois, which is also “where the
13   majority of its officers direct, control, and coordinate operations.” (Id.) Under recent
14   United States Supreme Court precedent, JCI is not “at home” in California and, thus, is
15   not subject to general personal jurisdiction here. See Daimler AG v. Bauman, 134 S.Ct.
16   746, 760 (2014); Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S.Ct. 2846 (2011).
17           Second, JCI is not subject to specific personal jurisdiction in California. According
18   to Plaintiffs’ First Amended Complaint and the Preliminary Fact Sheet, Plaintiffs allege
19   that Farid Malek worked with or around purportedly asbestos-containing JCI products in
20   Abadan, Iran (while employed at the Abadan Oil Refinery from approximately 1951-
21   1979), only. (See Exhibits B, at pp. 16 and C, at pp. 37, 64 to Gaines Decl.) Therefore,
22   Plaintiffs have not and cannot establish that their claims “arise out of” or are “related to”
23   JCI’s activities in California, which is required to establish specific jurisdiction. Burger
24   King Corp. v. Rudzewicz, 471 U.S. 462, 477-478 (1985).
25           Whatever the merits of Plaintiffs’ claims, they have no connection to any activity
26   performed by JCI in California sufficient to warrant haling JCI, a Delaware entity, into
27   this Court. Because there is no basis for this Court to exercise personal jurisdiction, JCI’s
28   motion to dismiss should be granted.

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          JCI’S NOTICE OF MOTION AND MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
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 1   II.      LEGAL STANDARD
 2            California’s long-arm statute and Rule 4(k) of the Federal Rules of Civil Procedure
 3   require compliance with due process. Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1155 (9th
 4   Cir. 2006). Defendants are permitted to challenge pleadings based on a lack of personal
 5   jurisdiction via motion. See FED. R. CIV. P. 12(b). When a nonresident defendant
 6   challenges personal jurisdiction, the plaintiff bears the burden of proving the necessary
 7   jurisdictional facts; e.g., the existence of “minimum contacts” between defendant and the
 8   forum state. In re Western States Wholesale Natural Gas Antitrust Litig., 715 F.3d 716, 741
 9   (9th Cir. 2013).
10            Under the Due Process Clause, a court cannot exercise jurisdiction over a
11   nonresident defendant unless the defendant has such “minimum contacts” with the
12   forum state that “maintenance of the suit does not offend traditional notions of fair play
13   and substantial justice.” Int'l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (internal
14   quotations and citations omitted). Under that restrictive standard, a court must have
15   either “general or specific jurisdiction over a defendant.” Doe v. Unocal Corp., 248 F.3d
16   915, 923 (9th Cir. 2001); see also Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S.
17   408, 413-15 (1984). “If the defendant’s activities in the forum are substantial, continuous
18   and systematic, general jurisdiction is available; in other words, the foreign defendant is
19   subject to suit even on matters unrelated to his or her contacts to the forum.” Doe, 248
20   F.3d at 923. “A court may exercise specific jurisdiction over a foreign defendant if his or
21   her less substantial contacts with the forum give rise to the cause of action before the
22   court,” but “[i]t is the plaintiff’s burden to establish the court’s personal jurisdiction over
23   a defendant.” Id. at 922-23. As shown below, Plaintiffs cannot meet their burden to
24   establish this Court’s general or specific jurisdiction over JCI.
25
     III.     THE COURT SHOULD GRANT JCI’S MOTION BECAUSE JCI LACKS
26
              SUFFICIENT CONTACTS WITH CALIFORNIA
27

28            JCI is not subject to general or specific personal jurisdiction in this case.

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 1         A.     JCI IS NOT SUBJECT TO GENERAL PERSONAL JURISDICTION IN
 2                CALIFORNIA.
 3                1.     The Goodyear and Daimler holdings apply.
 4         JCI is not subject to general personal jurisdiction in California. A corporation is
 5   subject to general personal jurisdiction only if its in-state contacts are “so continuous and
 6   systematic as to render [it] essentially at home in the forum State.” Goodyear Dunlop Tires
 7   Operations, S.A. v. Brown, 131 S.Ct. 2846, 2851 (2011) (internal quotations omitted). “For
 8   an individual, the paradigm forum for the exercise of general jurisdiction is the
 9   individual’s domicile; for a corporation, it is an equivalent place . . . in which the
10   corporation is fairly regarded as at home,” such as its “domicile, place of incorporation,
11   and principal place of business.” Id. at 2853-54; see also Daimler AG v. Bauman, 134 S.Ct.
12   746, 760 (2014) (general jurisdiction typically requires corporation either to be
13   incorporated or have its principal place of business in forum state). A corporation’s
14   “principal place of business,” in turn, “refer[s] to the place where a corporation’s officers
15   direct, control, and coordinate the corporation’s activities . . . [a]nd in practice it should
16   normally be the place where the corporation maintains its headquarters.” Hertz Corp. v.
17   Friend, 130 S.Ct. 1181, 1192 (2010). Applying that test here, there is no question that JCI
18   is “at home” in Illinois or Delaware but not in California.
19         JCI’s status is comparable to but even further removed from the defendant in
20   Goodyear, which was a products liability case involving nonresident product manufacturers
21   sued in North Carolina. Goodyear, 131 S.Ct. 2846. Although the plaintiffs and their
22   decedents were from North Carolina, and the defendants’ products had been sold in
23   North Carolina, the Supreme Court held that general jurisdiction was lacking because the
24   nonresident defendants were “in no sense at home in North Carolina.” ld. at 2857.
25         With Goodyear, the United States Supreme Court swept aside the “sprawling view
26   of general jurisdiction” under which “any substantial manufacturer . . . would be
27   amenable to suit, on any claim for relief, wherever its products are distributed,” making
28   plain that “even regularly occurring sales of a product in a State do not justify” the

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 1   exercise of general jurisdiction there.     Id. at 2856, 2857 n.6.      The Supreme Court
 2   cemented its position in Daimler when it rejected California’s exercise of general
 3   jurisdiction over a nonresident manufacturer simply because it sold hundreds of
 4   thousands of automobiles in California through an in-state subsidiary. Daimler, 134 S.Ct.
 5   at 761-62 (“It was therefore error for the Ninth Circuit to conclude that Daimler, even
 6   with MBUSA’s contacts attributed to it, was at home in California, and hence subject to
 7   suit there.”). The Supreme Court reiterated that the inquiry “is not whether a foreign
 8   corporation’s in-forum contacts can be said to be in some sense ‘continuous and
 9   systematic,’ it is whether that corporation’s affiliations with the State are so ‘continuous
10   and systematic as to render [it] essentially at home in the forum State.’” Id. at 761 (citation
11   omitted).
12          Recently, California’s Second District Court of Appeal applied Goodyear and
13   Daimler in the context of a wrongful death asbestos case in BNSF Railway Company v.
14   Superior Court (Kralovetz), 235 Cal.App.4th 591 (2015). In BNSF, the plaintiffs alleged that
15   decedent Peter J. Kralovetz died from mesothelioma as a result of exposure to asbestos.
16   Id. at 595. The exposure attributed to defendant BNSF allegedly occurred in Wichita,
17   Kansas. Id. BNSF, a Delaware corporation with its principal place of business in Texas,
18   moved to quash service of the summons for lack of personal jurisdiction. Id. at 596.
19   Despite the facts that California housed approximately 8.1 percent of BNSF’s total
20   workforce (3,520 employees), accounted for approximately 6 percent of BNSF’s revenue,
21   and contained approximately 5 percent of its total track mileage (1,149 miles), the
22   California Court of Appeal held that BNSF was not subject to general jurisdiction in
23   California. Id. Specifically, the court found that BNSF’s operations in California were
24   not sufficient in comparison to its national operations and were not so “continuous and
25   systematic” as to render it “at home” in California. Id. at 604. In so holding, the BNSF
26   court relied on the United States Supreme Court’s decision in Daimler.
27          Goodyear and Daimler instruct that JCI is “at home” in Illinois or Delaware but not
28   in California. Although Plaintiffs will likely contend that JCI is subject to personal

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 1   jurisdiction here, simply placing products in the stream of commerce and having an office
 2   in California is not enough. JCI is a Delaware corporation. (Springs Decl. ¶ 5.) It
 3   maintains its principal place of business in Illinois, where it is headquartered and “the
 4   majority of its officers direct, control, and coordinate operations.” Id.; Hertz, 130 S.Ct. at
 5   1192. Under Goodyear and Daimler, JCI is not subject to general jurisdiction in California,
 6   and it would violate due process to hale JCI into California to defend itself in connection
 7   with alleged activities occurring outside the country. JCI’s motion to dismiss should
 8   accordingly be granted.
 9                2.     This is not an “exceptional” case exemplified by Perkins.
10         The Court should reject any argument by the Plaintiffs that the present case is
11   “exceptional.” In Daimler, the United States Supreme Court identified the “textbook”
12   example of the rare case that might qualify as “exceptional:” Perkins v. Benguet Consol. Min.
13   Co., 342 U.S. 437 (1952). Daimler, 134 S.Ct. at 761 n.19. To this day, Perkins “remains
14   [t]he textbook case of general jurisdiction” when a corporation is neither headquartered
15   nor incorporated in the forum state. Goodyear, 131 S.Ct. at 2856.
16         In Perkins, the defendant, sued in Ohio, was a foreign Philippine mining
17   corporation that had ceased all mining activities abroad. Perkins, 342 U.S. at 447-48. Its
18   only business at the time of suit was done in Ohio, where its president maintained his
19   office, kept the company files, and supervised the company. Id. Due process was
20   satisfied because “Ohio was the corporation’s principal, if temporary, place of business.”
21   Daimler, 134 S.Ct. at 756 (emphasis added).
22         That is a far cry from JCI’s operations. As stated above, JCI ran and continues to
23   run its operations from its headquarters in Illinois, a fact that singlehandedly sets it apart
24   from the “exceptional” case of Perkins. Unlike Perkins, California has never served as
25   JCI’s de facto home base.      Nor could it ever be said that JCI’s business involves
26   “California-only operations.” “Unlike the defendant in Perkins, whose sole wartime
27   business activity was conducted in Ohio, [JCI is] in no sense at home in [California].”
28   Goodyear, 131 S.Ct. at 2857.

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 1         The fact that this is an asbestos case does not make it “exceptional.” In BNSF,
 2   plaintiffs argued that asbestos disease is an indivisible injury, and requiring plaintiffs
 3   affected by it to “sue individual defendants, each in its own state of incorporation or in
 4   its principal place of business, in multiple places throughout the country,” would “present
 5   a horrific burden to all the courts,” work a grave injustice to injured plaintiffs, and
 6   “unjustifiably assist defendants in avoiding responsibility for their conduct.” BNSF, 235
 7   Cal.App.4th at 605. The California appellate court found that these concerns did not
 8   render an asbestos-related case “exceptional,” and stated that the due process rights of
 9   defendants cannot vary with the types of injury alleged by plaintiffs. Id. Similarly, the
10   asbestos-related claims now alleged against JCI do not make this case “exceptional.”
11                3.     Other U.S. courts have declined to find jurisdiction in similar
12                       cases.
13         In the wake of Daimler, numerous courts have declined to find jurisdiction under
14   circumstances similar to the facts here:
15      • Ubid, Inc. v. GoDaddy Grp., Inc., 623 F.3d 421, 426 (7th Cir. 2010) (no
16         general jurisdiction over GoDaddy in Illinois despite company’s intense
17         national advertising campaign, “extensive and deliberate contacts” with
18         Illinois and hundreds of thousands of Illinois customers delivering
19         “many millions of dollars in revenue”);
20      • Brown v. CBS Corporation, 19 F.Supp.3d 390, 398-400 (2014) (no general
21         jurisdiction over Lockheed Martin in Connecticut asbestos action even
22         though company derived roughly $160 million in revenue from
23         Connecticut-based work between 2008 and 2012, maintained employees
24         at four in-state locations, leased real property at four separate locations
25         and paid Connecticut corporate income tax);
26      • Ricks v. Armstrong Int’l, Inc., 2014 WL 2873189 at *1 (E.D.N.C. June 24,
27         2014) (no general jurisdiction over defendant in North Carolina asbestos
28

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 1         action even though defendant derived 9.86 percent of total sales from
 2         forum state);
 3      • Cortec Corp. v. Transilwrap Co., 2015 WL 164173 at *3 (D. Minn. Jan. 13,
 4         2015) (no general jurisdiction over defendant that derived 6.5-7.7
 5         percent of its revenue from in-state customers, amounting to
 6         approximately $15-18 million in annual sales);
 7      • In re Asbestos Products Liab. Litig. (No. VI), 2014 WL 5394310 at *5-11
 8         (E.D. Pa. Oct. 23, 2014) (no specific jurisdiction as claims did not arise
 9         out of defendants’ activities in the Virgin Islands or general jurisdiction
10         under the restrictive holding in Daimler for all 32 defendants).
11

12         B.     JCI IS NOT SUBJECT TO SPECIFIC PERSONAL JURISDICTION IN
13                CALIFORNIA.
14         Plaintiffs cannot establish that this Court has specific jurisdiction over JCI. A
15   court may exercise specific jurisdiction over a nonresident defendant only if: (1) the
16   defendant has purposefully directed its activities at California; (2) the litigation results
17   from alleged injuries that “arise out of or relate to” those activities; and (3) the assertion
18   of personal jurisdiction would comport with fair play and substantial justice. Burger King,
19   471 U.S. at 472, 476. The analysis begins and swiftly ends with the second requirement.
20   To satisfy the “arise out of or relate to” requirement, Plaintiffs must prove that this
21   litigation results from alleged injuries that arise out of or relate to JCI’s activities in
22   California. Burger King, 471 U.S. at 472.      Plaintiffs have not and cannot make that
23   showing.
24         Plaintiffs’ claims for personal injuries against JCI are based on alleged activities
25   that took place entirely within Iran. In particular, Plaintiffs claim Mr. Malek worked with
26   or around JCI “gaskets and packing” from approximately 1951-1979 at the Abadan Oil
27   Refinery in Iran. (See Exh. C at pp. 37, 64 to Gaines Decl.) Indeed, all of Mr. Malek’s
28   alleged “exposures” to JCI’s products occurred in Iran. As such, there is no connection

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  1   between this lawsuit and any activities or contacts JCI may have with California. Specific
  2   jurisdiction simply does not exist.
  3   IV.   CONCLUSION
  4         Plaintiffs cannot invoke this Court’s jurisdiction over JCI. For the above-stated
  5   reasons, the Court should grant JCI’s motion to dismiss pursuant to Rule 12(b)(2) of the
  6   Federal Rules of Civil Procedure.
  7

  8   DATED: June 18, 2015                   HAWKINS PARNELL THACKSTON & YOUNG LLP
  9

 10

 11                                                By:
                                                         Robert E. Thackston
 12                                                      Edward R. Ulloa
                                                         Julia A. Gowin
 13                                                      J. Kyle Gaines
                                                         Attorneys for Defendant,
 14                                                      JOHN CRANE INC.

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        JCI’S NOTICE OF MOTION AND MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
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  1                               CERTIFICATE OF SERVICE
  2

  3          The undersigned counsel for Defendant John Crane Inc. hereby certifies that a
  4   true and correct copy of the forgoing document was filed with the Court and served
  5   electronically through the CM-ECF (Electronic Case Filing) system to all counsel of
  6   record registered to receive a Notice of Electronic Filing for this case on this 18th day of
  7   June, 2015. To ensure service to the parties that have yet to appear in the federal court
  8   action, it was also served electronically through Lexis File & ServeXpress to all counsel of
  9   record in the state court action on this 18th day of June, 2015.
 10

 11                                                         /s/ J. Kyle Gaines
 12                                                         J. Kyle Gaines
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